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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT NEW YORK


 CHARON COINS, LLC,

                Plaintiff,
        v.
                                             Civil Action No. 7:21-cv-2777
 SONEA GRIFFITHS,

                Defendant.


                                     [PROPOSED] ORDER

       This matter having come before the Court on Plaintiff Charon Coins, LLC’s,

voluntary dismissal of the within action and     Defendant Sonea Griffiths’ stipulation

thereto, it is hereby

       ORDERED, that the within action is dismissed without prejudice, each party to bear

its own attorney’s fees and costs.

       DONE and ORDERED this __ day of January, 2022.



                                          ___________________________________
                                          HONORABLE VINCENT L. BRICCETTI
                                          UNITED STATES DISTRICT JUDGE
